 1   MICHAEL FILIPOVIC
     Federal Defender
 2
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 3   Assistant Federal Defender
     Attorneys for Francis Schaeffer Cox
 4   FEDERAL PUBLIC DEFENDER FOR THE
     WESTERN DISTRICT OF WASHINGTON
 5
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 8   Email: Michael_Filipovic@fd.org
            Ann_Wagner@fd.org
 9
10                       IN THE UNITED STATES DISTRICT COURT
11                            FOR THE DISTRICT OF ALASKA

12
      UNITED STATES OF AMERICA,                 )   No. CR11-022-RJB
13
                                                )
14                        Plaintiff,            )
                                                )   DEFENDANT’S NOTICE OF
15                  v.                          )   APPEAL

16                                              )
      FRANCIS SCHAEFFER COX,                    )
17                                              )
                     Defendant.                 )
18   _______________________________            )
19          NOTICE IS GIVEN that Francis Schaeffer Cox, defendant in the above-named
20   case, appeals to the United States Court of Appeals for the Ninth Circuit from the
21   amended judgment in a criminal case entered on November 5, 2019, including his
22   conviction in count 12 for Conspiracy to Murder (Dkt. 765) and including the Court’s
23   denial of the defendant’s motion for writ of audita querela (Dkt. 723).
24          Sentence imposed: 188 months
25          Name of court reporter: Barry Fanning
26          Transcript required: yes



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 1   If yes, indicate date ordered or to be ordered: November 8, 2019
 2   DATED this 8th day of November 2019.
 3
                                       Respectfully submitted,
 4
                                       s/ Michael Filpovic
 5                                     Federal Public Defender
 6
                                       s/ Ann Wagner
 7                                     Assistant Federal Public Defender
 8                                     Attorneys for Francis Schaeffer Cox
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      Case 3:11-cr-00022-RJB Document 768 Filed 11/08/19 Page 2 of 3
 1                                CERTIFICATE OF SERVICE
 2          I certify that on November 8, 2019, I electronically filed the foregoing notice
 3   with the Clerk of the Court using the CM/ECF system, which will send notification of
 4   filing to all registered parties. I further certify I mailed a copy of the document to
 5   Francis Schaeffer Cox at FDC SeaTac.
 6
                                                 s/ Suzie Strait
 7                                               Paralegal

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